Case 3:17-cv-00947-LAB-WVG Document 9 Filed 07/03/17 PageID.33 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   SHAHNAZ ZARIF,                                    CASE NO. 17cv947-LAB (WVG)
12                                   Plaintiff,        ORDER OF DISMISSAL
           vs.
13
     ENHANCED RECOVERY COMPANY
14   LLC,
15                                Defendant.
16        The parties’ joint motion to dismiss the case with prejudice is GRANTED.
17        IT IS SO ORDERED.
18   DATED: June 30, 2017
19
20                                            HONORABLE LARRY ALAN BURNS
                                              United States District Judge
21
22
23
24
25
26
27
28
